      3:10-cv-02741-CMC          Date Filed 10/22/10      Entry Number 1      Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

JASON CHURCH and                              )
KATIE CHURCH,                                 )
                                              )
       Plaintiffs,                            )
                                              )       No. 3:10-2741-CMC
       vs.                                    )
                                              )
COMMERCIAL RECOVERY                           )
SYSTEMS, INC.,                                )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                          COMPLAINT

       NOW COME the Plaintiffs, JASON CHURCH and KATIE CHURCH, by and through

their attorney, JAMES M. ERVIN, and for their Complaint against the Defendant,

COMMERCIAL RECOVERY SYSTEMS, INC., Plaintiffs allege and state as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq.

                                JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                            PARTIES

       3.      Plaintiffs are individuals who were at all relevant times residing in Blythewood,

South Carolina.
      3:10-cv-02741-CMC          Date Filed 10/22/10      Entry Number 1       Page 2 of 4




       4.       Plaintiffs are “consumers” as defined in 15 U.S.C. § 1692a(3), as they are natural

persons allegedly obligated to pay a debt.

       5.       At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt

allegedly owed by Plaintiffs.

       6.       On information and belief, Defendant is a corporation of the State of Texas,

which is not licensed to do business in South Carolina and which has its principal place of

business in Dallas, Texas.

                                             COUNT I

                       (Violation of the Fair Debt Collection Practices Act)

       7.       On or about January 7, 2010, Defendant’s representatives and/or employees,

including, but not limited to Don Van (“Van”) and Frank Allen (“Allen”) began contacting

Plaintiff Jason Church by telephone in attempts to collect the aforementioned alleged debt.

       8.       Defendant’s representatives and/or employees, including, but not limited to Van

and Allen, continued to contact Plaintiff Jason Church at his place of employment by telephone

in attempts to collect the aforementioned alleged debt, even after they were informed that he was

not allowed to take telephone calls of that nature while he was working.

       9.       In addition, Allen threatened to file a lawsuit against Plaintiff Jason Church

personally, despite the fact that the debt allegedly was the sole obligation of his wife, Plaintiff

Katie Church.

       10.      Allen also verbally threatened Plaintiffs with an Internal Revenue Service audit

and implied that Defendant would seize, sale and/or garnish Plaintiffs’ property and wages,

stating “You won’t own a stick of gum for the next 20 years.”




                                                2
      3:10-cv-02741-CMC          Date Filed 10/22/10     Entry Number 1       Page 3 of 4




       11.     In addition, Defendant sent an agent with a badge to repossess Plaintiffs’ car,

thereby implying that said agent was a police officer.

       12.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

               a.     Falsely representing or implying that Defendant is vouched for, bonded

                      by, or affiliated with the United States government or any state

                      government, in violation of 15 U.S.C. § 1692e(1);

               b.     Representing or implying that nonpayment of the alleged debt would

                      result in the seizure, garnishment, attachment and/or sale of Plaintiff’s

                      property or wages where such action was unlawful and/or Defendant did

                      not intend to take such action, in violation of 15 U.S.C. § 1692e(4);

               c.     Threatening to take action that could not legally be taken and/or that was

                      not intended to be taken, in violation of 15 U.S.C. § 1692e(5);

               d.     Communicating with Plaintiff Jason Church at his place of employment

                      after he advised Defendant that his employer prohibited him from

                      receiving such phone calls while he is working, in violation of 15 U.S.C. §

                      1692c(a)(3); and

               e.     By acting in an otherwise deceptive, unfair and unconscionable manner

                      and failing to comply with the FDCPA.

       13.     As a result of Defendant’s violations as aforesaid, Plaintiffs have suffered and

continue to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiffs, JASON CHURCH and KATIE CHURCH, respectfully pray

for a judgment against Defendant as follows:




                                                3
      3:10-cv-02741-CMC          Date Filed 10/22/10       Entry Number 1       Page 4 of 4




               a.      Statutory damages of $1,000.00 for each Plaintiff for each violation of the

                       FDCPA;

               b.      All reasonable attorneys’ fees, witness fees, court costs and other litigation

                       costs incurred by Plaintiffs; and

               c.      Any other relief deemed appropriate by this Honorable Court.


                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiffs hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiffs prevail on any of their claims in this action.



                                                      Respectfully Submitted,

                                                      /s/ James M. Ervin
                                                      James M. Ervin
                                                      Attorney for Plaintiffs
                                                      PO Box 6276
                                                      Columbia, SC 29260-6276
                                                      (888) 493-0770, ext. 308 (phone)
                                                      (866) 551-7791 (facsimile)
                                                      James@LuxenburgLevin.com




                                                 4
